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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )            Case No. MJ 10-236
10                                        )
           v.                             )
11                                        )
     SEBASTIAN DOMINGUEZ-ESQUEDA,         )            DETENTION ORDER
12                                        )
                 Defendant.               )
13   ____________________________________ )

14
     Offenses charged:
15

16           COUNT 1:      Conspiracy to Distribute a Controlled Substance, in violation of 21
                           U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B) and 846
17
             COUNT 2:      Distribution of Methamphetamine in violation of 21 U.S.C. §§ 841
18                         (a)(1), (b)(1)(C)

19           COUNT 3:      Possession with Intent to Distribute Methamphetamine, in violation of
                           21 U.S.C. §§ 841 (a)(1) and (b)(1)(A) and 18 U.S.C. § 2
20

21 Date of Detention Hearing:      June 1, 2010

22           The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

23 based upon the factual findings and statement of reasons for detention hereafter set forth,

24 finds:

25           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

26           (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that


     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01                  defendant is a flight risk and a danger to the community based on the nature of

02                  the pending charges. Application of the presumption is appropriate in this

03                  case.

04          (2)     Defendant is a citizen of Mexico.

05          (3)     Defendant has stipulated to his continued detention, but reserves the right to

06                  contest his continued detention if there is a change in circumstances.

07          (4)     There are no conditions or combination of conditions other than detention that

08                  will reasonably assure the appearance of defendant as required or ensure the

09                  safety of the community.

10          IT IS THEREFORE ORDERED:

11          (1)     Defendant shall be detained pending trial and committed to the custody of the

12 Attorney General for confinement in a correctional facility separate, to the extent practicable,

13 from persons awaiting or serving sentences or being held in custody pending appeal;

14          (2)     Defendant shall be afforded reasonable opportunity for private consultation

15 with counsel;

16          (3)     On order of a court of the United States or on request of an attorney for the

17 government, the person in charge of the corrections facility in which defendant is confined

18 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

19 connection with a court proceeding; and

20          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

21 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

22 Services Officer.

23          DATED this 1st day of June, 2010.

24

25
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
26


     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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